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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

THE ESTATE OF DANNY                          :
VALENTINE-SHABAZZ,                           :
     Plaintiff,                              :
                                             :
       v.                                    :       CIVIL ACTION NO. 22-CV-0866
                                             :
JEFF FLYNN, et al.,                          :
      Defendants.                            :

                                             ORDER

       AND NOW, this 14th day of March, 2022, because pro se Plaintiff Danny Amen

Valentine-Shabazz has failed to sign his Complaint as required by Federal Rule of Civil

Procedure 11, 1 and it further appearing that Valentine-Shabazz has submitted a Complaint to the

Court without either paying the fees to commence a civil action or filing a motion to proceed in

forma pauperis, it is ORDERED that:

       1.      The Clerk of Court is DIRECTED to send a copy of the unsigned Complaint

(ECF No. 1) to Valentine-Shabazz. 2


1
  The Complaint was submitted without a handwritten signature. Rule 11(a) of the Federal
Rules of Civil Procedure provides that “[e]very pleading, written motion, and other paper must
be signed by at least one attorney of record in the attorney’s name – or by a party personally if
the party is unrepresented.” Fed. R. Civ. P. 11(a). The United States Supreme Court has
interpreted Rule 11(a) to require “as it did in John Hancock’s day, a name handwritten (or a mark
handplaced).” See Syville v. New York City of New York, No. 20-0570, 2020 WL 2614705, at *1
(S.D.N.Y. May 15, 2020) (citing Becker v. Montgomery, 532 U.S. 757, 764 (2001)).
2
  The caption of the Complaint lists the Plaintiff as “The Estate of Danny Valentine-Shabazz.”
(See ECF No. 1.) The Court notes that “[a]lthough an individual may represent herself or
himself pro se, a non-attorney may not represent other parties in federal court.” Murray on
behalf of Purnell v. City of Philadelphia, 901 F.3d 169, 170 (3d Cir. 2018); see also 28 U.S.C. §
1654. In the context of an estate, “[i]f an estate has one or more beneficiaries besides the
administrator, then the case is not the administrator’s own because the interests of other parties
are directly at stake,” such that a non-attorney administrator or executor may not represent the
estate. Murray, 901 F.3d at 171. Furthermore, because “only a natural person may qualify for
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        2.       If Valentine-Shabazz seeks to proceed with this case, he shall sign the Complaint

and return it to the Court within thirty (30) days of the date of this Order. No summons shall

issue at this time.

        3.      If Valentine-Shabazz seeks to proceed with this case, he must also, within thirty

(30) days of the date of this Order, either (1) pay $402 (comprising the $350 filing fee and $52

administrative fee) to the Clerk of Court, or (2) file a motion to proceed in forma pauperis.

        4.      The Clerk of Court is DIRECTED to send Valentine-Shabazz an appropriate

non-prisoner application to proceed in forma pauperis, bearing the civil action number of this

case. Valentine-Shabazz may use this form to seek leave to proceed in forma pauperis if he

cannot afford to pay the fees to commence this case.

        5.      If Valentine-Shabazz fails to comply with this Order, his case may be dismissed

without further notice for failure to prosecute.

                                               BY THE COURT:


                                               /s/ Eduardo C. Robreno
                                               EDUARDO C. ROBRENO, J.




treatment in forma pauperis under [28 U.S.C.] § 1915,” an estate may not proceed in forma
pauperis. See Rowland v. Cal. Men’s Colony, Unit II Men’s Advisory Council, 506 U.S. 194,
196 (1993); Gray v. Martinez, 352 F. App’x 656, 658 (3d Cir. 2009) (per curiam) (“Because an
estate is not a natural person, it may not . . . proceed [in forma paupers].”). Based on his
numerous filings in this case, at this time, the Court construes the Complaint to present claims by
Danny Amen Valentine-Shabazz as an individual litigant. If an estate is the Plaintiff in this case,
however, licensed counsel must enter an appearance on its behalf and it must pay the necessary
fees to commence a civil action in this Court.
                                                   2
